Case
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     19-34054-sgj11
       20-03190-sgj Doc
                    Doc 1822-121
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  November 30, 2020

  Highland Capital Management Fund Advisors, L.P.
  300 Crescent Court, Suite 700
  Dallas, Texas 75201
  Attention: General Counsel

          RE:      Termination of Second Amended and Restated Shared Services Agreement,
                   effective as of February 8, 2013, by and among Highland Capital
                   Management, L.P. (“HCMLP”), and Highland Capital Management Fund
                   Advisors, L.P. (the “Agreement”).

  To Whom It May Concern:

  As set forth in Section 7.02 of the Agreement, the Agreement is terminable at will upon at least
  60 days advance written notice.

  By this letter, HCMLP is notifying you that it is terminating the Agreement. Such termination
  will be effective January 31, 2021. HCMLP reserves the right to rescind this notice of
  termination.

  Please feel free to contact me with any questions.

  Sincerely,

  HIGHLAND CAPITAL MANAGEMENT, L.P.

  /s/ James P. Seery, Jr.

  James P. Seery, Jr.
  Chief Executive Officer
  Chief Restructuring Officer




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